Return of Substitute Service
IN THE MISSOURI DISTRICT COURT IN AND FOR WESTERN DISTRICT COUNTY

CHRISTINA AND COLE FRANCIS Case Number: §:23-CV-06019
VS Civil Number: 23-000119
WAUSAU HONIES INC AND PHILLIPS BUILDERS, LLC Date Received: 02/16/2023 @ 08:22

Date Printed: 02/24/2023 @ 11:29

STATE OF IOWA \
PAGE COUNTY

| hereby certify that | served a copy of:

COMPLAINT
JURY DEMAND

To: PHILLIPS,SCOTT at 323 N 15TH ST - SHERIFF'S OFFICE CLARINDA, IA 51632
on 92/24/2023 @ 14:25 Type of Service: PERSONAL

By substitute service on:
ASHLEY PHILLIPS at 323N 15TH ST-SHERIFF’S OFFICE CLARINDA JIA 51632

Relationship/Title: SFOUSE Legal Age:
Remarks:
LYLE PALMER, SHERIFF
Fees: PAGE COUNTY
Service Fees: 30.00
Mileage: 6.00 By: Sf RESERVE JENN SANDS
Copies: 0.00
Total: 36.00
Paid By:
Date:
Check #:

Case 5:23-cv-06019-SRB Document 4 Filed 02/24/23 Page 1of1
